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                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY
                                       NEWARK VICINAGE

   OCCIDENTAL CHEMICAL
   CORPORATION,                                  )
                                                 )
                    Plaintiff,                   )   Hon. Madeline Cox Arleo
   v.                                            )
                                                 )   Hon. Magistrate Leda Dunn Wettre
        ST
   21 CENTURY FOX AMERICA, INC.,                 )
   et al.,                                       )   Case No. 2:18-cv-11273 (MCA-LDW)
                                                 )
                    Defendants and Third-Party   )
                    Plaintiffs,                  )   NOTICE OF FORMATION OF
                                                 )   PVSC LIAISON GROUP
   v.                                            )
                                                 )
   PASSAIC VALLEY SEWERAGE                       )
   COMMISSIONERS, et. al.,                       )
                                                 )
                    Third-Party Defendants.      )


  TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

             PLEASE TAKE NOTICE that pursuant to the Court’s October 31, 2018 Scheduling Order

  (Dkt. 395), the following Third-Party Defendants have established a Liaison Group to be known

  as the “PVSC Liaison Group”:

             Passaic Valley Sewerage Commissioners

             Township of Bloomfield

             Township of Cedar Grove

             City of Clifton

             Borough of East Newark

             City of East Orange

             Borough of Glen Ridge
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           Town of Harrison

           Borough of Hasbrouck Heights

           Town of Kearny

           Township of Montclair

           City of Newark

           Borough of North Haledon

           City of Orange

           City of Passaic

           City of Paterson

           Borough of Totowa

           Township of West Orange

           Borough of Woodland Park

  Please also take notice that Grant P. Gilezan and Jill M. Wheaton—admitted pro hac vice on behalf

  of Passaic Valley Sewerage Commissioners—will serve as Liaison Counsel to the PVSC Liaison

  Group.


                                       Respectfully submitted,


                                       __________________________________
                                       Kirstin Bohn, Esq.
                                       CHASAN LAMPARELLO MALLON & CAPPUZZO, PC
                                       300 Lighting Way, Suite 200
                                       Secaucus, NJ 07094
                                       Tel: (201) 348-6000
                                       Fax: (201) 348-6633
                                       kbohn@chasanlaw.com

                                       Counsel for Third Party Defendant
                                       Passaic Valley Sewerage Commissioners

  Dated: January 27, 2022


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                               CERTIFICATE OF SERVICE

        I hereby certify that on January 27, 2022, a copy of NOTICE OF FORMATION OF PVSC

  LIAISON GROUP was electronically served on counsel of record.



                                    __________________________________
                                    Kirstin Bohn, Esq.
                                    CHASAN LAMPARELLO MALLON & CAPPUZZO, PC
                                    300 Lighting Way, Suite 200
                                    Secaucus, NJ 07094
                                    Tel: (201) 348-6000
                                    Fax: (201) 348-6633
                                    kbohn@chasanlaw.com

                                    Counsel for Third Party Defendant
                                    Passaic Valley Sewerage Commissioners




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